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                                                                   October 4, 2018

BY ECF

Honorable Joan M. Azrack
United States District Judge
Eastern District of New York
944 Federal Plaza
Central Islip, New York 11722

       Re: USA v. Christopher McPartland et al.
           17-cr-0587 (JMA)
Dear Judge Azrack:

       I represent defendant Christopher McPartland in the above matter.
       With the government’s consent, I write on behalf of Mr. McPartland and his co-defendant,
Thomas Spota, to request a minor adjustment to the pre-trial motion schedule. The reason for this
request is that the Government has today provided additional Rule 16 discovery to us, with more
Rule 16 material to arrive tomorrow. This additional discovery is significant, and may well affect
some of the motions that we are planning to file.
       Accordingly, in order to provide us with sufficient time to review this new material, we
request that the schedule be amended as follows:
       Defendants’ pretrial motions to be filed by October 17, 2018 (current due date October 8).
       Government’s opposition by November 14, 2018 (current due date November 5).
       Defendants’ reply papers by November 28, 2018 (current due date November 19).
       No prior request for this relief has been made, and no other scheduled deadline or court
appearance should be affected by the granting of this request.
       We thank the Court for its consideration.


                                                    Respectfully submitted,


                                                    Larry H. Krantz
